 8:13-cr-00244-JMG-TDT             Doc # 30   Filed: 06/26/13   Page 1 of 1 - Page ID # 54




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                  8:13CR244

      vs.
                                                                    ORDER
LUIS MEZA-GALVEZ,

                      Defendant.


      The Clerk’s Office has requested that Document Number 11 be stricken from the

record for the following reason:

               The document is an incorrect document and should not have been filed.

      IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document

Number 11 from the record.           The correct document has been filed at       Document

Number 27.

      Dated this 26th day of June, 2013.

                                                   BY THE COURT:
                                                   s/ Joseph F. Bataillon
                                                   United States District Judge
